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EXHIBIT H-3
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                  )    MDL NO. 1456
AVERAGE WHOLESALE PRICE                         )
LITIGATION                                      )    CIVIL ACTION: 01-CV-12257-PBS
                                                )
                                                )    Judge Patti B. Saris
THIS DOCUMENT RELATES TO                        )
U.S. ex rel. Ven-A-Care of the Florida Keys,    )    Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., et al.       )
No. 06-CV-11337-PBS                             )

    NOTICE OF 30(B)(6) DEPOSITION OF THE CENTERS FOR MEDICARE AND
                           MEDICAID SERVICES

       PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, Abbott Laboratories, Inc. (“Abbott”) by its undersigned attorneys, will take the

deposition upon oral examination of one or more representatives of the Centers for Medicare and

Medicaid Services. This notice calls for testimony on the following topics originally set forth in

Abbott’s November 21, 2007 Letter:

       7.      What steps CMS, its employees, agents, or carriers or any state Medicaid Program
took upon learning of the Ven-A-Care qui tam complaints, the article published in Barron’s
magazine entitled “Hooked on Drugs” (June 10, 1996), or any other communication advising
them that AWPs for the Subject Drugs exceeded the acquisition costs for those drugs.

        8.     Why CMS, its employees, agents, and carriers, and various state Medicaid
programs continued to pay for drugs based on published AWPs even when presented with
evidence that AWPs did not represent the price at which physicians and pharmacists purchased
drugs, including whether the decision to pay for drugs based on AWP in Medicare or any state
Medicaid program was affected in any way by

       (a) political negotiations;

       (b) concern about adversely affecting access to care for Medicare and Medicaid
       beneficiaries; or

       (c) a deliberate effort to “cross subsidize” physicians and pharmacists for inadequate
       dispensing fees or inadequate payments for services rendered incident to
       administering infusion or injection drugs.
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       9.     What the Medicare program or any state Medicaid program would have paid for
the Subject Drugs had they had actual knowledge of the prices at which physicians and other
customers purchased the Subject Drugs.

       The deposition will take place before a notary public, or any other officer authorized to

administer oaths, at Jones Day, 51 Louisiana Avenue, Washington, D.C. on October 15, 2009

beginning at 1:00 PM and continuing on successive days as necessary.

       Such deposition will be recorded by stenographic and/or sound and visual means. The

deposition is being taken for the purposes of discovery, for use at trial, and for such other

purposes as permitted under the Federal Rules of Civil Procedure.



Dated: September 30, 2009                         /s/ David S. Torborg
                                                 James R. Daly
                                                 Brian J. Murray
                                                 JONES DAY
                                                 77 West Wacker Drive, Suite 3500
                                                 Chicago, Illinois 60601
                                                 Telephone: (312) 782-3939
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                                                 R. Christopher Cook
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                                                 Counsel for Defendant Abbott Laboratories, Inc.




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                                CERTIFICATE OF SERVICE

        I, David S. Torborg, an attorney, hereby certify that I caused a true and correct copy of
the foregoing NOTICE OF 30(B)(6) DEPOSITION OF THE CENTERS FOR MEDICARE
AND MEDICAID SERVICES to be served upon all counsel of record electronically by causing
same to be posted via LexisNexis this 30th day of September, 2009.



                                               /s/ David S. Torborg____
                                              David S. Torborg
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